            Case 5:18-cr-00013-XR        Document 138        Filed 11/07/24
                                                                                             FILED
                                                                                       Page 1 of 5


                               IN THE UNITED STATES DISTRICT COURT                              NOV     IWI
                                   WESTERN DISTRICT OF TEXAS
                                                                                            ClglK.U,S. DISTRICT ill
                                                                                           raSTERN DISTRICT OF Tl
                                                                                           BY                     ~
THE UNITED STATES OF AMERICA
                                                                                                              Dl^
VS.                                                         CAUSE NO.: SA-18-CR-13


PAUL CASEY WHIPPLE



                                         NOTICE OF APPEAL



TO THE HONORABLE JUDGE OF SAID COURT;

       Now comes,              PAUL CASEY WHIPPLE                Defendant in the above referenced
        cause and does hereby request the Court to take NOTICE OF APPEAL In this matter to
                    the UNITED STATES COURT OF APPEALS for the 5th Circuit
                       from a JUDGMENT OF INCARCERATION entered on the
                                  23rd      day of   October , 2024.


                                          Respectfully submitted,


                                                       %UL CASEY WHIPPLE

                                                          Defendant




    Signed before me, a Notary Public, on this day personally appeared PAUL CASEY WHIPPLE
  known to me (or proved to on oath or on the basis of satisfactory evidence of identification) to be the
person whose name is subscribed above and acknowledge to me that he/she executed the same for the
                            purposes and consideration therein expressed.


Notarial Officer's Signature
                                                                            MIRANDA CANO
                                                                      Notary Public, State of Texas
                                                                      Comm     I Expires 04-14-2027
Notarial Officer's Printed Name                                            Notary ID 1343083^

My Commission Expires:
           Case 5:18-cr-00013-XR           Document 138            Filed 11/07/24      Page 2 of 5



                                        CERTIFICATE OF SERVICE




                  I            PAUL CASEY WHIPPLE                    hereby certify that on the
                                  H^l        day of      AJc]f
           a true and correct copy of the above and foregoing NOTICE has been mailed to;

                      Honorable Judge Xavier Rodriguez
                      262 W. Nueva St; Courtroom H
                      San Antonio, TX 78207

                      Office of the United States Attorney
                      Western District of Texas
                      601 N.W. Loop 410; Ste. 600
                      San Antonio, TX 78219

                      The United States District Clerk
                      Western District of Texas
                      262 W. Nueva St; Room 1-400
                      San Antonio, TX 78207



                                           Attestej              iel3efendant:


                                                            >AUL CASEY WHIPPLE


                                                                 Defendant




     Signed before me, a Notary Public, on this day personally appeared PAUL CASEY WHIPPLE
  known to me {or proved to on oath or on the basis of satisfactory evidence of identification) to be the
person whose name is subscribed above and acknowledge to me that he/she executed the same for the
                               purposes and consideration therein expressed.


Notarial Officer's Signature
                                                                                      MIRANDA CANO
                                                                                 Notary public, Sta« otT^s
                                                                                  Comm. Expires, 04-14-20Z/
Notarial Officer's Printed Name                                                     Notary ID   134308346


My Commission Expires:
         Case 5:18-cr-00013-XR   Document 138     Filed 11/07/24    Page 3 of 5



                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS

THE UNITED STATES OF AMERICA

VS.                                              CAUSE NO.; SA-18-CR-13

PAUL CASEY WHIPPLE


                                      ORDER




            ON THIS THE           DAY OF                20      CAME TO BE HEARD
         DEFENDANT'S NOTICE OF~APPEAL AND SAID NOTICE IS HEREBY TAKEN:


                          ) GRANTED                 (           ) DENIED


        SIGNED THIS THE           DAY OF                20




                                              JUDGE PRESIDING
              Case 5:18-cr-00013-XR           Document 138         Filed 11/07/24                      Page 4 of 5




                                  IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS


THE UNITED STATES OF AMERICA

VS.                                                               CAUSE NO.: SA-18-CR-13


PAUL CASEY WHIPPLE



                                     DECLARATION OF INMATE FILING



TO THE HONORABLE JUDGE OF SAID COURT;

           Now comes              PAUL CASEY WHIPPLE                      Defendant in the above referenced
cause and does hereby request the Court to take Notice of DECLARATION OF INMATE FILING in
                                                  this matter.


                           I am an inmate in the Karnes County Detention Facility.
           Today, the               day of                      , I am depositing in the institution's
                     internal mailing system, FIRST CLASS MAIL postage affixed hereto
                                    the Defendant's NOTICE OF APPEAL.


      Declared this the   28 th      day of    October , 2024 .

                                              Respeci              Iffed



                                                           >AUL CASEY WHIPPLE


                                                                 Defendant




      Signed before me, a Notary Public, on this day personally appeared PAUL CASEY WHIPPLE
   known to me (or proved to on oath or on the basis of satisfactory evidence of identification) to be the
 person whose name is subscribed above and acknowledge to me that he/she executed the same for the
                             purposes and consideration therein expressed.


Notarial Officer's Signature

 /iJt /■         *                                                    ●    A   ●●
                                                                                               MIRANDA CANO
                                                                                         Notary Public, State of Texas
Notarial Officer's Printed Name                                                     Vi
                                                                                          Comm. Expires 04-14-2027
                                                                     ^  Of
                                                                     '//(Hi"'               Notary ID 134308346

My Commission Expires;
                                                                                                                                                                Case 5:18-cr-00013-XR




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                                                                                 SAN ANTONIO TX 780
                                                                                RID GRANDE DISTRICT
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